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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE FIRSTENERGY CORP.
SECURITIES LITIGATION,

This document relates to:                        Civil Action 2:20-cv-3785
                                                 Chief Judge Algenon L. Marbley
                                                 Magistrate Judge Jolson
       ALL ACTIONS.



                                          ORDER

       This matter is before the Court on the December 14, 2022 Joint Status Report (Doc. 391)

submitted by Defendant Charles E. Jones (“Jones”) and third-party Industrial Energy Users-Ohio

(“IEU-Ohio”). The Court previously ordered the completion of certain discovery by December 21,

2022. (Doc. 387 at 2). Now, IEU-Ohio seeks an extension of time to comply with the Court’s

production deadline and proposes a schedule for production to which Jones has agreed. For good

cause shown, the extension is GRANTED and the Court ADOPTS the joint proposed schedule as

follows:


             December 21, 2022                 IEU-Ohio produces hard-copy financial records
                                               and meeting agendas identified to date, including
                                               any necessary privilege log.


               January 4, 2023                 Based on review of meeting agendas produced by
                                               IEU-Ohio, Jones’s counsel identifies list of
                                               meeting minutes to be reviewed and produced by
                                               IEU-Ohio.


               January 11, 2023                IEU-Ohio’s counsel will generate and provide a
                                               hit report covering all electronic data then in
                                               MRFL’s possession.
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              January 18, 2023           Counsel of Jones and IEU-Ohio will meet and
                                         confer regarding the hit report on or before this
                                         date.


              January 25, 2023           IEU-Ohio produces meeting minutes based on
                                         Jones’s request, including any necessary
                                         privilege log.


              February 7, 2023           IEU-Ohio’s counsel will generate and provide an
                                         updated hit report covering all electronic data in
                                         IEU-Ohio’s possession, custody, or control.



             February 14, 2023           Counsel of Jones and IEU-Ohio will meet and
                                         confer regarding the updated hit report on or
                                         before this date.


             February 25, 2023           IEU-Ohio completes production of remaining
                                         physical documents, absent further leave of
                                         Court.

                                         By this date, counsel for Jones conduct on-site
                                         inspection of physical documents made available
                                         for inspection by IEU-Ohio.



      IT IS SO ORDERED.



Date: December 19, 2022              /s/ Kimberly A. Jolson
                                     KIMBERLY A. JOLSON
                                     UNITED STATES MAGISTRATE JUDGE




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